989 F.2d 491
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ralph ALEXANDER, Plaintiff-Appellant,v.STATE OF MARYLAND;  William Donald Schaefer, Governor;Richard A. Lanham, Sr., Commissioner of Corrections;  BishopL. Robinson, Secretary of Public Safety and CorrectionalServices, Defendants-Appellees.
    No. 92-7059.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 1, 1993Decided:  March 23, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (CA-92-2539-S)
      Ralph Alexander, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before WIDENER, HAMILTON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Ralph Alexander appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses no abuse of discretion and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Alexander v. Maryland, No. CA-92-2539-S (D. Md. Sept. 22, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    